Case 5:24-cv-00811-KK-DTB                                      Document 1-1                    Filed 04/17/24                       Page 1 of 30 Page ID
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                                Electronically FILED by Sup en or Court ofCalifornia, County ofRlverside on 09121 /2023 09:52 . "<M
           c�se NumI1er CVRl2304990 0000070787867 - Jason 8. Galkin, Executive OfiicerlClerk ofthe Cou,t 8Y Courtney Flores, Clerk

                                                                                                                                                               SUM-100
                                                   SUMMONS                                                                     FOR COURT USE ONL'I
                                                                                                                           (SOLO PARA USO DE LA CORTE)
                                          (CITACION JUDICIAL)
    NOTICE TO DEFENDANT:
    (A V/SO AL DEMANDADO):
    State Fann General Insurance Company, Andrea Acevedo, and DOES 1
    to 1 0,
    YOU ARE BEING SUED BY PLAINTIFF:
    (LO ESTA DEMANDANDO EL DEMANDANTE):
    Andrew Thompson a.nd Heather Thompson

     NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
     below.
        You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
     served on the plaintiff. A lelter or phone call will not protect you. Your written response must be in proper legal fonn if you want the cour1 to hear your
     case. There may be a court form thal you can use for your response. You can f111d these court forms and more information at the California Courts
     Online Self-Help Center (www.courtinfo.ca.gov/se/fhelp), your county law library, or the courthouse nearest you. If you caMot pay u,e filing iee, ask
     the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, mone)·. and property
   , may be taken without further warning from the oourt.
        There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
     referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
     these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
     (www.courtinlo.ca.gov/selfnelp), or by contacting your local court or county bar association. NOTE: The court has a staluto,'Y lien for waived fees and
     costs on any settlement or arbitration award of S10,000 or more in a civil case. The courrs lien must be paid before the court will dismiss the case.
     ;AVISO! Lo nan demandsdo. Si no responde dentro de 30 divs, la corte puede decidir en su contra sin escuchar si: version. Lea fa informac/Cn a
     continvaci6n.
        Tiene JO OiAS DE CAL.ENDARIO despues de que Je en:reguen esta citacion y papeles Jegales para presentar una respuesta por escrito en esta
     carte y hacer que se entregue una copia al demandante. Una catta o una 1/amada telelonica no lo protegM. Su respuesla por escrtto tiene que eslar
     en formato legal correcto si desea que procesen su caso en !a cor:e. Es posibfe que ha},a un formuiario que usted pveda usar para su respuesta.
     Puede encontrar estos formularios de ta corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov;, en ta
     bib!iotece de !eyes de sv condado o en le: corte que le quede mas cerca. Si no paede pagar Ja cuota de presentaci6n, ptda at sacretario de la corte
     que le de un formutario de exencion de pago de c>Jctas. Si no presenta su respuesta a tiempo, puede perderef caso por incumplimiento y la cotte ie
     podra quilar su sue/do, dinero y bienes sin mas advertencia.
       Hay otros requisiros regales. Es recomendable que flame a un abogado inmeoiatamente. Si no concce a un abogado, puede flamar a un servicio de
     remisior. a abogados. Si no puede pagar a un abogado, es posible que cumpla con /os r�uisitos para oorener servicios legaies gratu1!0s de un
     progre.ma de seNicios legales sin fines de fucro. Puede encofltrar estqs grupos sin fines Ce lucro en el sitic web de Calitorr.ia Legal Services,
     (W'lww.lawt:elpcalifomia.o,gJ, en el Ceritro de Ayuda de las Cort-e-s de Caliiomia, (www.sucorte.ca.gov) o poniendose en contacto con la cor:e o el
     ooler;iio de abogados locales. AV/SO: Por ley, la corte /iene derecho a rec/amar las cuotas y los costos etentos por imponer un gravamen sobre
     cualquierrec11peracion de $10,000 6 mas de velor recibide mediante un acuerao o una concesl6n de arbitraje en un caso de derecho civil. Tiene que
     pagar e! gravamen de Ja corte entes de que la cort.e pueda desectiar el caso.
                                                                                                             CASE NiJM6ER:
                                                                                                            I(NtJmero Giel Caso]:
    The name and address oflhe court is:
    (El nombre y direcci6n de la corte es): Riverside Superior Court
                                                                                                                      C'v' RI 23 0 4 9 9 0
    4050 Main Street
    Riverside, CA 92501
    The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
    (El nombre, la direcci6n y el numero de te/efono def abogado de/ demandante, o de/ demandante que no tiene abogado, es):
    Evangeline F. Grossman 330 N Indian Hill Blvd., Claremont, CA 9 1 7 1 1 (909) 626-1934

   DATE :
            09121 12023                                                 Clerk. by    C¢tJJit::nc1 dPiJhl                                                        , Deputy
    (Fecha)                                                             (Secretario)                                                                             (Adjunto)
   (For proof of serlice of this summons, use Proof of Service of Summons (tom1 POS-010).)
   (Para prueb& de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
     {
     SEAL!
                                     NOTICE TO THE PERSON SERVED: You are served
                                              1. 0
                                              2. 0                                                   meo (specify):


                                              3.   DD on behalf f(specityJ:State Farm General Insurance Company
                                                   under;   LXJ                                               CJ
                                                            D cc                                              D
                                                            D CCP 416.40 (as          .

              GC681 50(g)                                   D other (specify):
                                              4. [X] by personal delivery on (dale):
    Fonn AOO;>.eo fO( Mandat.:ty W$e                                                                                                Cooe of C:v.l Proced.lf(:- §§ -'12,W, 4$5
                                                                                                                                                                    Paoe 1 of 1

      Judici.il Cvuncil of Ca)iforn':i                                                                                                                Wl'iA',C::,ilrtirJo.ca,fi()\'
                                                                             SUMMONS
      S�iM•10C jRtN. Jui�• -:. 200:lJ




                                                                                   14                                                                         Exhibit 1
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Case 5:24-cv-00811-KK-DTB            Document
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      1.EVANGELINE F. GROSSMAN State BarNo.176014
       egrossman@efglawyer.com
     2 TONNA K. FAXON State Bar No. 237605
       tfaxon@efglawyer.com
     3 EVANGELINE FISHER GROSSMAN LAW
       330 North Indian Hill Boulevard
     4 Claremont, California 91 711
       Telephone: (909) 626-1934
     5 Facsimile: (909) 626-1900

     6    Attorneys for Plaintiffs
     7

     8                                SUPERIOR COURT OF THE STA TE OF CALIFORNIA
     9                                               FOR THE COUNTY OF RIVERSIDE
    10

    11    ANDREW THOMPSON AND HEATHER                                                  Case No.: CV RI 23 0 49 9 0
          THOMPSON

                              Plaintiff,                                               COMPLAINT AND DEMAND FOR JURY
                                                                                       TRIAL
          V.
    14                                                                                        1. DECLARATORY JUDGMENT
    15 STATE FARM GENERAL INSURANCE                                                           2. BREACH OF CONTRACT
       COPMANY, ANDREA ACEVEDO and DOES
    16 1 to 10,
                                                                                              3. BREACH OF THE IMPLIED
                                                                                                 COVENANT OF GOOD FAITH AND
    17                        Defendants.                                                        FAIR DEALING
    18                                                                                        4. VIOLATION OF BUSINESS &
                                                                                                 PROFESSIONS CODE SECTION
    19
                                                                                                 17200 ET SEQ.
    20
                                                                                              S. INTENTIONAL INTERFERENCE
                                                                                                 WITH CONTRACTUAL
    21
                                                                                                 RELATIONSHIP
    22
                                                         I.      NATURE OF THE CASE
    23
                              This case involves State Farm General Insurance Company's ("Defendant") breach
    24
           of its duties to the California public, breach of contract and violation of the duty of good faith and
    25
           fair dealing, based on its policy and practice of denying slab leak claims made by its California
    26
           insureds on the false and incorrect premise that slab leaks aren't covered by its standard fire
    27
           policies.
    28



                                               COMPLAINT 15
                                                         AND DEMAND FOR JURY TRIAL                                              Exhibit 1
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                 2.    On or about May 17, 2023, Andrew and Heather Thompson ("Plaintiffs") suffered a
    2    sudden and accidental water loss below their slab in their home located at 14647 Vasco Way,
    3    Moreno Valley, CA 92555-7306.
    4            3.    At the time of the water loss, Plaintiffs were insured by Defendant under
    5    Homeowners Policy No. 75-ED-Hl59-7. A true and coITect copy of the Declarations page of the
   6    Policy is attached hereto as Exhibit A and incorporated herein by reference.
    7                                          II.   THE PARTIES
    8          4.      Plaintiffs are, and at all relevant times were, residents of Riverside County,

   9    California.
   10          5.      Plaintiffs are informed, believe and allege that Defendant is a corporation duly
   II   organized and existing under the laws of the State of California and is authorized to transact and is
   12   transacting insurance business in the State of California.
   13           6.     On information and belief, defendant Andrea Acevedo ("Acevedo") was, at all times
   14   relevant hereto, is an individual and was residing in the State of California.
   15          7.      The true names or capacities, whether individual, corporate, associate or othe1wise,
   16   of Defendants DOES 1 through 10, are unknown to Plaintiffs, who therefore designates those
   17   defendants by these fictitious names. Each of the defendants sued therefore as a DOE is legally
   18   responsible in some manner for the events and happenings refeITed to and proximately caused the
   19   injuries suffered by Plaintiffs. Plaintiffs will amend this complaint as necessary to allege DOE
  20    defendants' identities when the same becomes known to Plaintiffs
   21                                III.     JURISDICTION AND VENUE
   22          8.      Jurisdiction is proper because the amount in controversy exceeds the jurisdictional
  23    minimum of this Court.
  24           9.      Venue is proper because the insured property is located in Riverside County.
   25                                   IV.     FACTUALBACKGROUND
  26            10.    Upon discovery of the water loss, Plaintiffs contacted Defendant to report the loss.
   27           11.    Plaintiffs hired Staiger Plumbing to perform a leak detection on the home to
  28    determine the source of the burst pipe. The copper pipe burst inside a structural concrete footing


                                    COMPLAINT16
                                              AND DEMAND FOR JURY TRIAL                  Exhibit 1
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        between a manifold in the living room and the water heater. Plaintiffs took reasonable steps to

   2    mitigate their loss.
   3            12.     State Farm conducted no testing to determine the cause and source of the loss.
   4            13.     State Farm failed to retain the services of a licensed plumber or a water mitigation
   5    specialist to determine the cause of the loss.
    6           14.     On June !, 2023, Acevedo conducted a brief visual inspection of the home. The
    7   subject pipe was not visible to Acevedo, nor did Acevedo do anything to make the burst pipe
    8   visible, nor did Acevedo at any time inspect or view the pipe, or have any testing conducted on the

    9   pipe.
   10           15.     Rather than placing the interests of its insureds ahead of its own as it is required to do
   11   under state law, State Farm in fact failed and neglected to investigate the loss.
   12           16.     As a result of Acevedo's repo1i and recommendation to State Farm, State Fann
   13   summarily denied the claim.
   14           17.     In a letter dated June 12, 2023, State Farm denied the claim in writing by and through
   15   a letter sent by Acevedo, stating in relevant part,
   16
                Our investigation and evaluation of your loss has determined that your damage is not
   17           covered by your policy. Based on my visual inspection of your property conducted on June
                1, 2023, facts of the loss presented, and contact with your plumber, it has been determined
   18           that the hot water supply line under your home failed due to wear, tear, deterioration and/or
                electrolysis. The predominant cause of loss to the failed pipe is due to one or a combination
   19           of rust, electrolysis, corrosion, wear, tear and/or deterioration. The failed pipe is located
                below the slab under the garage and kitchen areas where it was installed during the
  20
                construction of your home; therefore, there is no coverage for any plumbing repairs or
  21            resulting water damage from your failed pipe as your policy does not cover water damage
                caused by water from below the surface of the ground.
  22
                Your homeowner's policy HW-2105, specifically excludes coverage for wear, tear,
  23            deterioration, rot, mold, maintenance, water from below the surface of the ground and a
  24
                continuous or repeated seepage or leakage of water. ...
                18.     The burst pipe was not physically visible for viewing, thus there was no basis for
  25
        Acevedo or State Farm to make any conclusion whatsoever as to the age, condition or appearance of
  26
        the burst pipe that caused the sudden and accidental loss.
  27
                19.     State Farm failed, refused and neglected to determine whether in fact the loss to
  28



                                    COMPLAINT17
                                              AND DEMAND FOR JURY TRIAL                 Exhibit 1
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        Plaintiffs' home was to the "building structure" as defined in the Policy, instead summarily denying
   2    the leak due to its location.
   3             20.     On information and belief, for the past several years, State Farm has instituted and
   4    followed a company practice of denying California water loss claims when they are located within
   5    the slab of a home, or within 12 inches directly below the slab.
   6             21.     On information and belief, water losses originating from within or below the slab
   7    constitute a proportionately high number of water loss claims made by State Fann insureds in recent
    8   years.
   9             22.     State Fann cites the basis for its denial that it does not cover slab leaks, or that
   Io   because the leak originated below the slab, the loss is not covered.
  11             23.     Alternatively, in addition to the basis for its denial of slab leak claims, State Fann
   12   will cite another purported basis for the denial (such as long tenn leak, wear and tear or water below
   13   the surface of the ground) to justify its unreasonable and bad faith denial of the water loss claim.
  14             24.     The Policy (form HW-2105) insured Plaintiffs' home, and defines "building

   15   structure" as:
   16
                 A structure fully enclosed with permanent walls and a roof. A pennanent wall or roof does
  17             not include any kind of temporary materials including but not limited to tarps, plastic
                 sheeting, or other similar material. A structure that is otherwise fully enclosed with
   18            permanent walls and a roof, that is undergoing repairs due to a recent loss insured, using
                 material such as tarps, plastic sheeting, or other similar material, is still considered a
   19            building structure.
  20
                 A building structure includes:
  21
                         a.      the foundation supporting the structure, including:
  22                             (!)    slabs;
                                 (2)    basement walls;
  23                             (3)    crawl space walls;
  24                             (4)     footings; and
                                 (5)     gravel, stone, or sand, used as fill material and located not more than
  25                                     12 inches directly below a slab described in item a.(!), including
                                        water supply lines, domestic water pipes, and sewer pipes located
  26                                     within this fill material; and
                         b.      wall-to-wall carpeting attached to the structure.
  27

  28
        See Ex. A (emphasis in original).



                                        COMPLAINT18
                                                  AND DEMAND FOR JURY TRIAL               Exhibit 1
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                25.    Defendant owed a duty under the Policy and California law to provide coverage for
   2    Plaintiffs' slab leak water loss, and breached that duty.
   3                  V.    FIRST CAUSE OF ACTION - DECLARATORY JUDGMENT
   4         (AGAINST STATE FARM GENERAL INSURANCE COMPANY AND DOES 1-10)
   5           26.     Plaintiffs refer to all preceding paragraphs and incorporate them in full in this cause

    6   of action.
    7           27.    An actual controversy exists between the Plaintiffs and the Defendant as to the legal
    8   rights and duties of the respective parties under the Policy.
    9           28.    An actual controversy exists between the Plaintiffs and the Defendant as to whether
   1O   Defendant properly interprets the language of its Policy.
   11           29.    Plaintiffs, therefore bring an action for a declaration of their rights and Defendant's
   12   duties in the premises, including a determination of the question of the invalidity of Defendant's
   13   denial of Plaintiffs' claim pursuant to C.C.P. § I 060 et seq.
   14           30.    Plaintiffs requests that the rights and duties set forth in this cause of action be
   15   adjudged by the Court.
   16           31.    As an insurer, Defendant was required to have undertaken a reasonable investigation
   17   of Plaintiffs' slab leak loss and provide coverage for Plaintiffs' loss because the loss occrnTed within
   18   the slab, and/or within the gravel, stone or sand used as fill material and located not more than 12
   19   inches directly below the slab. Defendant failed to do so.
  20           32.      Instead, Defendant failed to conduct a reasonable investigation into Plaintiffs' loss
  21    and summarily denied their claim utilizing excuses that it had no actual knowledge, or proof of.
  22            33.    An actual controversy has arisen and now exists between Plaintiffs and Defendant:
  23                               a. concerning their respective rights and duties under the Policy;
  24                               b. concerning whether Plaintiffs' slab leak was within the building
  25                                    structure as defined in the Policy;
  26                               c. concerning whether Defendant failed to conduct a reasonable
  27                                   investigation into Plaintiffs' loss;
  28                               d. concerning whether Defendant wrongfully fails to cover slab leak


                                     COMPLAINT19
                                               AND DEMAND FOR JURY TRIAL                Exhibit 1
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                                          losses in California as a matter of company policy and practice in an
   2                                      attempt to lessen its financial exposure for claims and as a cost saving
   3                                      measure; and
   4                                  e. whether Defendant is responsible for covering Plaintiffs' loss.
   5            34.       Defendant failed to give consideration in good faith to its insureds' interest, instead
   6    unreasonably and intentionally misinterpreting its policy language to support its denial of slab leaks

    7   in California.
   8                     VI.    SECOND CAUSE OF ACTION - BREACH OF CONTRACT
   9         (AGAINST STATE FARM GENERAL INSURANCE COMPANY AND DOES 1-10)
                35.       Plaintiffs refer to all preceding paragraphs and incorporate them in full in this cause
   11   of action.
   12           36.       At all material times herein, Plaintiffs had a policy of insurance for their home with
   13   Defendant State Farm.
   14           37.       Defendant's duty to provide coverage under the Policy extended to Plaintiffs' slab
   15   leak water loss. According to the contract's terms, State Farm contractually agreed to provide
   16   coverage to Plaintiffs for loss or damage to the Property arising out of a covered loss.
   17           38.       Plaintiffs fulfilled all of their obligations under the contract. Plaintiffs paid the
   18   premiums and performed or substantially performed the promises they made under the contract,
   19   including promptly notifying State Farm of the loss. In the alternative, any obligation or requirement
   20   that they may have failed to fulfill was immaterial to State Farm's decision to enter into the contract
  21    and to State Farm's claims handling conduct.
  22            39.       Defendant breached its duties under the Policy by failing to provide the promised
  23    insurance coverage for Plaintiffs' loss.
  24            40.       Plaintiffs suffered damages as a direct and proximate result of Defendant's breach,
  25    including economic loss.
   26           41.       In addition to being delayed and denied the Policy's benefits after a loss, Plaintiffs
   27   were forced to retain legal counsel to obtain the Policy benefits owed and recover for the financial
  28    losses caused by Defendant.


                                       COMPLAINT20
                                                 AND DEMAND FOR JURY TRIAL                  Exhibit 1
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         VII.    THIRD CAUSE OF ACTION - BREACH OF THE COVENANT OF GOOD FAITH
   2                                            AND FAIR DEALING
   3         (AGAINST STATE FARM GENERAL INSURANCE COMPANY AND DOES 1-10)
   4            42.     Plaintiffs refer to all preceding paragraphs and incorporate them in full in this cause

   5    of action.
    6           43.     In every insurance policy there exists an implied duty of good faith and fair dealing
    7   that the insurance company will not do anything to injure the rights of the insured to receive the
   8 benefits of the policy. Because peace of mind and security are principle benefits for Plaintiffs under
    9   the Policy, State Farm owed special obligations to Plaintiffs and their claim should have been
   Io   promptly processed, thoroughly investigated and paid in full. State Farm failed to do so. State
   II   Fann's pattern of unfair practices constitutes institutional bad faith and evidences a conscious
   12   course of wrongful conduct that is filmly grounded in the established company policy of State Farm.
   13           44.     Plaintiffs are informed, believe and allege that State Farm committed institutional
   14 bad faith by other acts and omissions of which they are presently unaware but will be shown
   15   according to proof at trial.
   16           45.     Defendant's conduct was undertaken or approved by its officers or managing agents,
   17   who are and were responsible for claims supervision, operations, communications, and decisions.
   18   This unreasonable conduct was undertaken on behalf of Defendant.
   19           46.     Defendant had advance knowledge of the actions and conduct of said individuals and
  20    the conduct was ratified, authorized and approved by Defendant, including managing agents whose
  21    precise identities are unknown to Plaintiffs at this time and therefore identified and desi gnated as
  22    Does I through I 0.
  23            47.     As a further proximate result of Defendant's unreasonable conduct, Plaintiffs were
  24    compelled to retain legal counsel to obtain the benefits due under the Policy. Defendant is liable to
  25    Plaintiffs for attorney fees, witness fees and costs of litigation reasonably necessary and incmTed by
  26    them order to obtain the Policy's benefits.
  27            48.     As a further proximate result of State Farn1's unreasonable conduct Plaintiffs
  28    suffered incidental damages flowing from State Farm's breach of contract, including (but not


                                       COMPLAINT21
                                                 AND DEMAND FOR JURY TRIAL             Exhibit 1
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        limited to) emotional distress. Plaintiffs suffered mental distress from the anxiety arising from the
   2    financial deprivation traceable directly to State Farm's delay in payment of their claim. In delaying
    3   insurance benefits due to Plaintiffs, State Faim substantially invaded Plaintiffs' personal property

    4   interest.
    5           49.    State Farm acted with oppression, malice and/or fraud in denying Plaintiffs' claim
    6   under California Civil Code § 3294. State Farm intended for its conduct to cause injury to the
   7    Plaintiffs; State Farm engaged in despicable conduct carried out with a willful and conscious
   8    disregard of their rights. State Farm's conduct constituted an intentional misrepresentation, deceit
    9   and concealment of material facts known to State Farm with the intention of depriving Plaintiffs of
   10   property, legal rights and/or causing other injury. Thus, Plaintiffs is entitled to punitive damages in
   11   an amount appropriate to punish or set an example of State Farm and deter future similar conduct.
   12           50.    State Farm breached its duty of good faith and fair dealing owed to Plaintiffs,
   13   including but not limited to, the following respects:
   14                          a.      Unreasonably and in bad faith, placed its own financial interests ahead
   15                                  of its insureds in violation of California's statutory, regulatory and
   16                                  common law;
   17                          b.      Unreasonably and in bad faith failed to give at least as much
   18                                  consideration to the interests of its insureds as it gave its own
   19                                  interests;
   20                          C.      Unreasonably and in bad faith failed to retain independent experts to
  21                                   assist in the fair, reasonable, objective and prompt investigation of the
  22                                   claim;
   23                          d.      Unreasonably and in bad faith withheld payment of sums due and
   24                                  owing Plaintiffs;
   25                          e.      Unreasonably and in bad faith failed to reasonably investigate and
   26                                  process Plaintiffs' claim for benefits;
   27                          f.      Unreasonably and in bad faith failed to objectively investigate the
   28                                  claim;


                                    COMPLAINT22
                                              AND DEMAND FOR JURY TRIAL                 Exhibit 1
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                               g.     Unreasonably and in bad faith failed to thoroughly investigate the
    2                                  claim;
    3                          h.     Unreasonably and in bad faith ignored evidence supporting coverage;
    4                          1.     Unreasonably and in bad faith ignored Policy language supporting
    5                                 coverage;
    6                         J.      Unreasonably and in bad faith failed to search diligently for
    7                                 evidence that supported payment of the claim;
    8                          k.     Unreasonably and in bad faith failed to provide all claim-related
    9                                 documents within fifteen days of request by Plaintiffs under Cal. Ins.
   10                                 Code §2071;
   11                          I.     Unreasonably and in bad faith delayed and/or denied Plaintiffs' claim
   12                                 without a genuine dispute between the parties;
   13                          m.     Unreasonably and in bad faith failed to refrain from injuring
   14                                 Plaintiffs' right to receive the benefits of the Policy; and
   15                          n.     Unreasonably and in bad faith compelled Plaintiffs to institute
   16                                 litigation to recover amounts due under the Policy.
   17           VIII. FOURTH CAUSE OF ACTION - FOR VIOLATION OF BUSINESS &
   18                           PROFESSIONS CODE SECTION 17200 ET SEQ.
   19        (AGAINST STATE FARM GENERAL INSURANCE COMPANY AND DOES 1-10)
   20                  Plaintiffs refer to all preceding paragraphs and incorporate them in full in this cause
   21   of action.
   22           52.    Plaintiffs brings this cause of action in a representative action as a representative, in
   23   this private attorney general action on behalf of themselves and the California general public
   24   pursuant to the California unfair competition law, Bus. & Prof. Code§§ 17200, et seq. (the "UCL").
   25           53.    Defendant's conduct as described herein constitutes unlawful, fraudulent and unfair
   26   competition under the UCL.
   27           54.    Members of the public who are insured by Defendant are likely to be deceived, in
   28   that they apply and pay for insurance, pay for the insurance, and after issuance of a policy to them,

                                                     9
                                    COMPLAINT23
                                              AND DEMAND FOR JURY TRIAL                 Exhibit 1
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        believe they are insured. A reasonable California consumer will reasonably believe himself or
    2   herself to be insured should they suffer a water loss in their home. But, with Defendant's practice of
    3   summarily denying water losses occurring in the slab of a home, or within 12 inches below a slab of
    4   a home, California State Farm insureds learn after the loss that State Farm will refuse (and has
    5   refused) to cover their loss.
    6           55.      With Defendant's practice of denying slab leaks, members of the public learn after
    7   the water loss that there is no insurance available to them to compensate them for their losses.
    8           56.      On information and belief, Defendant has engaged in the complained-of practices in
    9 the past, and continues to engage in such practices.

   10           57.      This action seeks to end Defendant's practices of denying slab leak claims on the
   11   false premise that such claims are not covered under its standard fire insurance policies in the state
   12   of California.
   13           58.      As more fully alleged above, that conduct includes the following unlawful,
   14   fraudulent or unfair business acts or practices:
   15                               a. Collecting insurance premiums from its insureds and issuing policies
   16                                     without an intent to cover slab leaks;
   17                               b. Instituting and maintaining a company policy and practice of
   18                                     summarily denying slab leak claims and/or utilizing false or
   19                                     inaccurate excuses for why the slab leak is not covered; and
   20                               c. Issuing insurance policies to insureds and collecting premiums from
   21                                     the insureds, and then later denying claims made for slab leaks.
   22           59.      Plaintiffs seek an injunction to halt Defendant's unfair, unlawful and fraudulent
   23   practices, and seeks restitution of any ill-gotten gains obtained as a result of said violations.
   24           60.      Plaintiffs seek restitution, because such a remedy is necessary to prevent the
   25   described unfair practices from continuing.
   26           61.      Plaintiffs seek to successfully enforce an important right affecting the public interest
   27   in this action, and the necessity of private enforcement makes an award of attorneys' fees
   28   appropriate to Plaintiffs as a prevailing party under C.C.P. § 1021.5.


                                        COMPLAINT24
                                                  AND DEMAl"\'D FOR JURY TRIAL          Exhibit 1
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                IX.     FIFTH CAUSE OF ACTION FOR INTENTIONAL INTERFERENCE WITH
    2                                    CONTRACTUAL RELATIONSHIP
    3                                           (AGAINST ACEVEDO)
    4             62.    Plaintiffs refer to all preceding paragraphs and incorporate them in full in this cause
    5   of action.
    6             63.    At all material times, Plaintiffs had a contract of insurance with State Farm.
    7             64.    Acevedo knew of the insurance contract with State Farm.
    8             65.    Acevedo intentionally interfered with the insurance contract between Plaintiffs and
    9   State Farm. In particular, she intentionally undertook the acts of inadequately investigating the loss,
   10   reached an immediate and unfounded dete1mination that coverage should be denied and failed to
   11   recommend to State Farm that fm1her review and investigation should be conducted.
   12             66.    In doing so, Acevedo knew her conduct would result in a denial of Plaintiffs' claim;
   13   thereby, saving State Farm money and interfering with Plaintiffs' ability to receive what they were
   14   entitled to under the insurance contract.
   15             67.    Acevedo is biased by financial interests driven by the money she receives from State
   16   Farm to adjust claims on its behalf. This bias results in an interference with the contractual
   17   relationship between Plaintiffs and State Farm.
   18             68.    Acevedo intended to disrupt the performance of Plaintiffs' contract with State Farm.
   19             69.    Acevedo conduct prevented State Farm's performance or made performance more
   20   difficult and in an amount less than what was due and owing.
   21             70.    Plaintiffs were harmed by Acevedo in that as a result of Acevedo's actions, State
   22   Farm denied Plaintiffs' claim, resulting in financial loss to them.
   23             71.    Acevedo's conduct was a substantial factor in causing Plaintiffs' harm.
   24   I.I.I
   25   I.I.I
   26   I.I.I
   27   I.I.I
   28   I.I.I

                                                     11
                                     COMPLAINT25
                                               AND DEMAND FOR JURY TRIAL                Exhibit 1
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    2                                          PRAYER FOR RELIEF
    3          Plaintiffs request that the Court enter judgment as follows:
    4                              First Cause of Action - Declaratory Judgment
    5           I.     Declaring an actual controversy has arisen and now exists between Plaintiffs and
    6   Defendant;
    7          2.      Declaring that Defendant engaged in unlawful and improper claims handling
    8   practices by summarily denying water loss claims in whole or in part because they occurred within a
    9   slab, or within 12 inches directly below a slab;
   10          3.      Declaring that Defendant's policy and practice of summarily denying water loss
   11   claims occurring within the slab of a home, or within 12 inches below the slab of the home is
   12   unlawful, unfair and in bad faith.
   13          4.      Declaring that Defendant's policy and practice of failing, refusing and neglecting to
   14   dete1mine whether in fact the loss to Plaintiffs' home was to the "building structure" as defined in
   15   the Policy, instead summarily denying the leak due to its location within the slab or beneath the slab,
   16   was in breach of the Policy and in bad faith.
   17           5.     Declaring that coverage should be extended to Plaintiffs' claim under the Policy, and
   18   that Plaintiffs are entitled to insurance benefits to repair and return their home to pre-loss condition,
   19   as well as being entitled to other insurance benefits due and owing under the Policy.
   20          6.      Such further relief as the Court deems just and proper.
   21                              Second Cause of Action - Breach of Contract
   22          7.      Damages, plus interest, including prejudgment interest and other economic and
   23   consequential damages, in an amount to be determined according to proof at the time of trial;
   24          8.      Costs of suit incurred herein; and
   25          9.      Such further relief as the Court deems just and proper.
   26            Third Cause of Action - Violation of the Duty of Good Faith and Fair Dealing
   27           I 0.   Damages for wrongful denial, wrongful failure to provide benefits under the Policy,
   28   and wrongful rescission, plus interest, including prejudgment interest, in a sum to be determined at

                                                    12
                                    COMPLAINT26
                                              AND DEMAND FOR JURY TRIAL                 Exhibit 1
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        the time of trial;
    2           11.     Attorneys' fees, witness fees and costs of litigation incmTed by Plaintiffs to obtain
    3   policy benefits in an amount to be determined at trial;
    4           12.     Economic and consequential damages arising out of the Defendant's unreasonable
    5   failure to provide benefits under the Policy;
    6           13.     Costs of suit incurred herein; and
    7           14.     Such other relief as the Court deems just and proper.
    8      Fourth Cause of Action - Violation of Business & Professions Code Section 17200 et seq.
    9           15.     Entry of an injunction to enjoin Defendant's unfair, unlawful and fraudulent
   Io   practices;
   11           16.     Entry of an order of restitution of any ill-gotten gains obtained as a result of
   12   Defendant's unlawful, unfair and fraudulent acts to prevent the described practices from continuing;
   13           17.     Entry of an order requiring State Farm to reopen and re-adjust all slab leak claims
   14   made by Defendant's insureds whose slab leak claims were denied (partially or wholly due to the
   15   loss being a slab leak) after a loss occurred;
   16                   An award of attorneys' fees appropriate to Plaintiffs as a prevailing party under
   17 C.C.P. § I 021.5; and
   18           19.     Such other relief as the Court deems just and proper.
   19            Fifth Cause of Action - Intentional Interference with Contractual Relationship
   20           20.     Damages under the contract, plus interest, including prejudgment interest and other
   21   economic and consequential damages, in an amount to be determined at trial;
   22           21.     Costs of suit incmTed herein; and
   23           22.     For further relief as the Court deems just and proper.
   24   Dated: September 20, 2023                        EVAKGELfNE FISHER GROSSMAN LAW
   25

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                                                              TONNA K. FAXON
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                                                              Attorneys for Plaintiff
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                                     COMPLAINT27
                                               AND DEMAND FOR JURY TRIAL                            Exhibit 1
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                                                JURY DEMAND
    2         Plaintiffs hereby demand a trial by jury.
    3   Dated: September 20, 2023                   EVANGELJNE FISHER GROSSMAN LAW
                                                          0

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                                                              Yvt/Yh,t'l_£J!.
    5                                                              ___cl"""_
                                                    By: ____ ,:___ --------1'-li--------
                                                         EVANGELINE FISH
    6                                                    TONNA K. FAXON
                                                         Attorneys for Plaintiff
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                                    COMPLAINT28
                                              AND DEMAND FOR JURY TRIAL         Exhibit 1
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                             EXHIBIT A




                                     29                           Exhibit 1
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     State Farm General Insurance Company
     A Stock Company With Home Offices in Bloomington, fllinois

     PO Box 853907
     Richardson, TX 75085-3907                                                                        rAStateFarm'
     AT2                   H-23-0637-FA71 F H W
     THOMPSON, HEATHER D 8
                                  3200                                RENEWAL DECLARATIONS
     ANDREW JAMES
     14647 VASCO WAY
     MORENO VALLEY CA             92555-7306
                                                                      AMOUNT DUE:                          None
                                                                      Payment is due by TO BE PAID BY MORTGAGEE

                                                                      Policy Number:      75-ED-H159-7

                                                                      Policy Period:   12 Months
                                                                      Effective Dates: SEP 20 2022 to SEP 20 2023
                                                                      The policy period begins and ends at 12:01 am standard
                                                                      time at the residence premises.

Homeowners Policy                                                     Your State Farm Agent
                                                                      ANGELICA BARRAZA-PENUELAS CHFC
Location of Residence Premises                                        16380 PERRIS BLVD STE E
14647 VASCO WAY                                                       MORENO VALLEY CA 92551-1134
MORENO VALLEY CA 92555-7306

                                                                      Phone: (951) 486-9500

Construction:                 Frame                                   Roof Material: Concrete/Clay
Vear Built:                   2004                                    Roof Installation Year: 2004
Automatic Renewal
If the POLICY PERIOD is shown as 12 MONTHS, this policy will be renewed automatically subject to the premiums, rules,
and forms in effect for each succeeding policy period. If this policy is terminated, we will give you and the Mortgagee/Lien­
holder written notice in compliance with the policy provisions or as required by law.


IMPORTANT MESSAGES
NOTICE: Information concerning changes in your policy language is included. Please call your agent with any questions.
This policy includes building code upgrade coverage of $59,750. Refer to the Important Notice for
possible terms, limits, conditions, or restrictions.
Please help us update the data used to determine your premium. Contact your agent with the year each of
your home's utilities (heating/cooling, plumbing, or electrical) and roof were last updated.
PREMIUM
Annual Premium                                                                                                      $3,483.00
Intervenor Fees                                                                                                           .38
Your premium has already been adjusted by the following:
 Claim Record Discount

Total Premium                                                                                                       $3,483.38




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                                                                        30                                                   Exhibit 1
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                                                          #:33




                                                                                           A StateFarm'
NAMED INSURED                                            MORTGAGEE AND ADDITIONAL INTERESTS
THOMPSON, HEATHER D &
ANDREW JAMES
                                                         ���'ll1WHoLESALE MORTGAGE              Loan Number:
                                                         ISAOA ATIMA                            0136400355
                                                         PO BOX202028
                                                         FLORENCE SC 29502-2028

                                                         2nd Mort(lagee
                                                         US BAN1'NA, ISAOA/ATIMA                Loan Number:
                                                         PO BOX96b45                            00003001327648
                                                         FORT WORTH TX 76161




SECTION I - PROPERTY COVERAGES AND LIMITS
Coverage                                                                                         Limit of Liability
A Dwelling                                                                                       $        597,500
Other Structures                                                                                 $         59,750
B Personal Property                                                                              $        448,125
C Loss of Use                                                                                    $        179,250
Additional Coverages
Arson Reward                                                                                               $1,000
Credit Card, Bank Fund Transfer Card, Forgery, and Counterfeit Money                                       $1,000
Debris Removal                                                         Additional 5% available/$ 1,000 tree debris
Fire Department Service Charge                                                              $500 per occurrence
Fuel Oil Release                                                                                          $10,000
Locks and Remote Devices                                                                                   $1,000
Trees, Shrubs, and Landscaping                                          5% of Coverage A amount/ $750 per item
SECTION II - LIABILITY COVERAGES ANO LIMITS
Coverage                                                                                         Limit of Liability
L Personal Liability {Each Occurrence)                                                           $        100,000
Damage to the Property of Others                                                                 $          1,000
M Medical Payments to Others (Each Person)                                                       $          1,000
INFLATION
Inflation Coverage Index: 356.7
DEDUCTIBLES
Section I Deductible                                                                          Deductible Amount
All Losses 1 %                                                                                   $           5,975
LOSS SETTLEMENT PROVISIONS
A1 Replacement Cost - Similar Construction
81 Limited Replacement Cost - Coverage B




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       75-ED-H159-7                                                                                      A State Farm"
       FORMS, OPTIONS, AN □ ENDORSEMENTS
       HW-2105                     Homeowners Policy
       Option ID                   Increase Dwlg up to $119,500
       Option OL                   Ordinance/Law 10%/ $59,750
       Option JF                   Jewelry and Furs $1,500 Each
                                    Article/$2,500 Aggregate
       HO-2420                     Form 438bfu NS Lndr Loss Pay
       HO-2779                     Wildfire Response End
       HO-2362                    *State of Emergency Amendatory
       HO-2213                    * Amendatory Endorsement
                                  *New Form Attached
       ADDITIONAL MESSAGES
       The limit of liability for this structure (Coverage A) is based on an estimate of the cost to rebuild your home,
       including an approximate cost for labor and materials in your area, and specific information that you have
       provided about your home.

       CALIFORNIA LAW REQUIRES US TO PROVIDE THE FOLLOWING NOTICE: Our records indicate that you have
       not purchased earthquake coverage.



                                  Other limits and exclusions may apply       w   refer to your policy


      Your policy consists of these Declarations, the Homeowners Policy shown above, and any other forms and endorsements
      that apply, including those shown above as well as those issued subsequent to the issuance of this policy.
      This policy is issued by the State Farm General Insurance Company.
      Particiµating Policy
      You are entitled to participate in a distribution of the earnings of the company as determined by our Board of Directors in
      accordance with the Company's Articles of Incorporation, as amended.
      ln Witness Whereof, the State Farm General Insurance Company has ca used this policy to be signed by its President and
      Secretary at Bloomington, Illinois.
                       �m-�                                                        4��
                          Secretary                                                 President




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                                                                         32                                                 Exhibit 1
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Your coverage amount ....
It is up to you to choose the coverages and limits that meet your needs. We recommend that you purchase a coverage
limit at least equal to the estimated replacement cost of your home. Replacement cost estimates are available from
building contractors and replacement cost appraisers, or, your agent can provide an Xactware estimate using
information you provide about your home. We can accept the type of estimate you choose as long as it provides a
reasonable level of detail about your home. State Farm ® does not guarantee that any estimate will be the actual future
cost to rebuild your home. Higher limits are available at higher premiums. Lower limits are also available, which if
selected may make certain coverages unavailable to you. We encourage you to periodically review your coverages
and limits with your agent and to notify us of any changes or additions to your home.




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                             NOTICE TO CONSUMERS • CALIFORNIA RESIDENTIAL INSURANCE DISCLOSURE

   This disclosure is required by Section 10102 of the California Insurance Code. This form provides general information related
   to residential property insurance and is not part of your residential property insurance policy. Only the specific provisions of
-- your policy will determine whether a particular loss is covered and the amount payable. The information provided does not
   preempt existing California law.
                                        PRIMARY FORMS OF RESIDENTIAL DWELLING COVERAGE

        You have purchased the coverage{s) checked below. NOTE: Actual Cash Value Coverage is the most limited level
        of covera e listed. Guaranteed Re lacement Cost is the broadest level of covera e.

       D       ACTUAL CASH VALUE COVERAGE for either a total or partial loss to the structure or its contents pays the
               amount it would cost you to repair, rebuild, or replace the thing lost or injured, less a fair and reasonable
               deduction for physical depreciation based upon its condition at the time of the injury or the policy limit,
               whichever is less. A deduction for physical depreciation applies only to components of a structure that are
               normally subject to repair and replacement during the useful life of that structure.                                                    a
       D       REPLACEMENT COST COVERAGE is intended to provide for the ocst to repair or replace the damaged or
               destroyed dwelling, without a deduction for physical depreciation. Many policies pay only the dwelling's actual
               cash value until the insured has actually begun or completed repairs or reconstruction on the dwelling.
               Coverage only pays for replacement costs up to the limits specified in your policy.

       [xJ     EXTENDED REPLACEMENT COST COVERAGE is intended to provide for the cost to repair or replace the
               damaged or destroyed dwelling without a deduction for physical depreciation. Many policies pay only the
               dwelling's actual cash value until the insured has actually begun or completed repairs or reconstruction on the
               dwelling. Extended Replacement Cost provides additional coverage above the dwelling limits up to a stated
               percentage or specific dollar amount. See your policy for the additional coverage that applies. Not available for
               Manufactured Home policies.
       0       GUARANTEED REPLACEMENT COST COVERAGE covers the full cost to repair or replace the damaged or
               destroyed dwelling for a covered peril regardless of the dwelling limits shown on the policy declarations page.
               Not available through State Farm.

       [ZJ     BUILDING CODE UPGRADE COVERAGE, also called Ordinance and Law coverage, is an important option
               that covers additional costs to repair or replace a dwelling to comply with the building codes and zoning laws in
               effect at the time of loss or rebuilding. These costs may otherwise be excluded by your policy. Meeting current
               building code requirements can add significant costs to rebuilding your home. Refer to your policy or
               endorsement for the specific coverage provided and coverage limits that apply.

                                                  FIRE SAFETY-RELATED DISCOUNTS OFFERED
             Automatic Sprinkler Discount may be available for polices on dwellings that have partial or complete fire sprinkler
             systems installed. Discounts may vary depending on whether the sprinkler system is complete or partial.
             (Applicable to Homeowners, Condominium Unitowners, Farm/Ranch, Rental Dwelling, Rental Condominium
             Unitowners, and Apartment)
             Construction Discount may be available if the home ls constructed with Fire-Resistive construction. This may be
             defined as a building with walls, floor, and roof constructed entirely of masonry or fire resistive materials with a Fire
             Resistance rating of not less than one hour. (Applicable to Homeowners, Farm/Ranch, Rental Dwelling, Rental
             Condominium Unitowners, and Apartment)
      �
      "
      Prepared JUL 26 2022                        CONTINUED ON REVERSE SIDE




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                                            CONTINUED FROM FRONT

    Individual Risk Premium Modification may be available for various fire mitigating elements including, but not
    limited to: proximity to fire station, number of fire extinguishers, ease of access to interior and/or upper floors
    for fire control. (Applicable to Farm/Ranch only)

    Home Alert Protection/Protective Devices Discount may be available to customers having a home alert system
    or device in their home. This includes fire and burglar alarms, detection systems, and devices installed in a
    residence that alert the homeowner to fire or break-ins. Discounts vary based upon the type of system or
    equipment installed. (Applicable to Homeowners, Condominium Unitowners, Farm/Ranch, Manufactured Home,
    Rental Dwelling, Rental Condominium Unitowners, and Apartment)

READ YOUR POLICY AND POLICY DECLARATIONS PAGE CAREFULLY: The policy declarations page shows
the specific coverage limits you have purchased for your dwelling, personal property, separate structures such as
detached garages, and additional living expenses. The actual policy and endorsements provide the details on
extensions of coverage, limitations of coverage, and coverage conditions and exclusions. The amount of any claim
payment made to you will be reduced by any applicable deductibles shown on your policy declarations page. It is
important to take the time to consider whether the limits and limitations of your policy meet your needs. Contact your
agent, broker, or insurance company if you have questions about what is covered or if you want to discuss your
coverage options.

INFORMATION YOU SHOULD KNOW ABOUT RESIDENTIAL DWELLING INSURANCE
AVOID BEING UNDERINSURED: Insuring your home for less than its replacement cost may result in your having
to pay thousands of dollars out of your own pocket to rebuild your home if it is completely destroyed. Contact your
agent, broker, or insurance company immediately if you believe your policy limits may be inadequate.

THE RESIDENTIAL DWELLING COVERAGE LIMIT: The coverage limit on the dwelling structure should be high
enough so you can rebuild your home if it is completely destroyed. Please note:
 •P The cost to rebuild your home is almost always different from the market value.
 * Dwelling coverage limits do not cover the value of your land.
 "' The estimate to rebuild your home should be based on construction costs in your area and should be adjusted
    to account for the features of your home. These features include but are not limited to the square footage, type
    of foundation, number of stories, and the quality of the materials used for items such as flooring, countertops,
    windows, cabinetry, lighting and plumbing.
 "' The cost to rebuild your home should be adjusted each year to account for inflation.
 • Coverage limits for contents, separate structures, additional living expenses and debris removal are usually
    based on a percentage of the limit for the dwelling. If your dwelling limit is too low, these coverage limits may
    also be too low.
You are encouraged to obtain a current estimate of the cost to rebuild your home from your insurance agent, broker,
or insurance company or an independent appraisal from a local contractor, architect, or real estate appraiser. If you
do obtain an estimate of replacement value, and wish to change your policy limits, contact your insurance company.
While not a guarantee, a current estimate can help protect you against being underinsured.

DEMAND SURGE: After a widespread disaster, the cost of construction can increase dramatically as a result of the
unusually high demand for contractors, building supplies and construction labor. This effect is known as demand
surge. Demand surge can increase the cost of rebuilding your home. Consider increasing your coverage limits or
purch asing Extended Replacement Cost coverage to prepare for this possibility.
CHANGES TO PROPERTY: Changes to your property may increase its replacement cost. These changes may
include the building of additions, customizing your kitchen or bathrooms, or otheiwise remodeling your home. Failure
to advise your insurance company of any significant changes to your property may result in your home being
underinsured.




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EXCLUSIONS: Not all causes of damage are covered by common homeowners or residential fire policies. You
need to read your policy to see what causes of loss or perils are not covered. Coverage for landslide is typically
excluded. Some excluded perils such as earthquake or flood can be purchased as an endorsement to your policy or
as a separate policy. Contact your agent, broker, or insurance company if you have a concern about any of the
exclusions in your policy.
CONTENTS (PERSONAL PROPERTY) COVERAGE DISCLOSURE:
This disclosure form does not explain the types of contents coverage provided by your policy for items such as your
furniture or clothing. Contents may be covered on either an actual cash value or replacement cost basis depending
on the contract. Almost all policies include specific dollar limitations on certain property that is particularly valuable
such as jewelry, art, or silverware. Contact your agent, broker or insurance company if you have any questions about
your contents coverage. You should create a list of all personal property in and around your home. Pictures and
video recordings also help you document your property. The list, photos, and video should be stored away from your
home.
CONSUMER ASSISTANCE
If you have any concerns or questions, contact your agent, broker, or insurance company. You are also encouraged
to contact the California Department of Insurance consumer information line at (800) 927-HELP (4357) or at
www.insurance.ca.gov for free insurance assistance.




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                                                                                                                                                               Page 1 of2

IMPORTANT NOTICE
Regarding Changes to Your Policy

HO-2362 STATE OF EMERGENCY AMENDATORY ENDORSEMENT (California) is added to your
State Farm® policy.
Th e following changes to your policy are effective with this policy term:
• Revisions have been made to bring language in closer alignment with California law.
    o     COVERAGE C - LOSS OF USE, Additional Living Expense - Language has b een added to
          provide additional six month extensions for good cause.
    o     SECTION I - LOSS SETTLEMENT, COVERAGE B - PERSONAL PROPERTY, 81 - Limited
          Replacement Cost Loss Settlement - Under item 1.a.(3), language has been added to provide
          additional six month extensions for good cause.
The endorsement follows this notice. Please r ead the endorsement and place it with your policy. If you
have any questions, please contact your State Farm agent.


    DISCLAIMER: This notice only provides a general summary of changes to your Slate Farm policy. This notice is not a statement of contract This notice does not
    change, modify, or invalidate the provisions, terms. or conditions as set forth in your State Farm poHcy booklet the most recentf,; issued declarations, and any ap­
    plicable endorsements.



STATE OF EMERGENCY AMENDATORY ENDORSEMENT (California)
This endorsement modifies insurance provided under the following: HOMEOWNERS POLICY, CONDOMINIUM UNITOWNERS
POLICY, and RENTERS POLICY
COVERAGE C - LOSS OF USE                                                                       good cause. Circumstances beyond your control include,
Item 1. is replaced by the following:                                                          but are not limited to:
1. Additional Living Expense. When a loss insured                                              a. unavoidable construction permit delays;
    causes the residence premises to become uninhabita­                                        b.     lack of necessary construction materials; and
    ble, we will pay the reasonable and necessary increase
    in cost incurred by an insured to maintain their normal                                     c. lack of available contractors to perform the neces-
     standard of living for up to 24 months. Our payment is                                        sary work.
    limited to incurred costs for the shortest of:
                                                                                                We IMII not pay more than the limit of liability shown in the
    a. the time required to repair or replace the premises;                                     Declarations for Coverage C - Loss of Use. Any nor­
    b. the lime required for your household to settle else-                                     mal expenses that are reduced or discontinued due to a
          where; or                                                                             loss insured will be subtracted from any amount owed.
    c. 24 months.                                                                         SECTION I - LOSS SETTLEMENT
    This period of time is not limited by the expiration of this                          COVERAGE B- PERSONAL PROPERTY
    policy.
    In the event a loss insured relating to a state of emer­                              Under 81 - Limited Replacement Cost Loss Settlement,
    gency, as defined in Section 8558 of the Government                                   item 1.a.(3) is replaced by the following:
    Code, causes the residence premises to become unin­                                         (3) to receive any additional payments on a replace­
    habitable, we shall grant an extension of up to 12 addi­                                        ment cost basis, you must complete the repair or
    tional months, for a total of 36 months, if you, acting in
    good faith and with reasonable diligence, encounter a de­                                       replacement:
    lay or delays in the reconstruction process that are the re­                                    (a) within 24 months from the date that we make
    sult of circumstances beyond your control. Additional                                                the first payment toward the actual cash value
    extensions of six months shall be provided to you for                                                of the property, or

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          (b) within 36 months from the date that we make                     Additional extensions of six months shall be provided
              the first payment toward the actual cash value                  to you for good cause subject to the terms of Section
              of the property, if the loss relates to a state of              2051.5 of the California Insurance Code_
              emergency as defined in Section 8558 of the
              Government Code.                                       All other policy provisions apply.
H0-2352
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IMPORTANT NOTICE
Regarding Changes to Your Policy

HO-2213 HOMEOWNERS AMENDATORY ENDORSEMENT (California) is added to your State Farm®
policy.
Note the following changes to your policy. Changes that broaden coverage without additional premium
are effective immediately on the date first adopted in your state. All other changes are effective with this
policy term:
• SECTION I - ADDITIONAL COVERAGES, language has been added to describe how COVERAGE
    C - LOSS OF USE, Option OL - Building Ordinance or Law, and other SECTION I -ADDITION­
    AL COVERAGES apply to Volcanic Action, Collapse, and Fuel Oil Release.
• SECTION II - ADDITIONAL COVERAGES, under Damage to Property of Others, language has
    been added to emphasize that item 2.c. under SECTION II - EXCLUSIONS does not apply to the
    coverage provided under Damage to Property of Others.
• SECTION II - EXCLUSIONS, item 1.i. has been revised to correct a typographical error in the policy
    reference for definition of insured.
The endorsement follows this notice. Please read the endorsement and place it with your policy. If you
have any questions, please contact your State Farm agent.


    DISCLAIMER: This notice only provides a general summary of changes to your State Farm poffcy. This notice is not a statement of contract This notice does not
    change. modify, or invalidate the provisions, terms. or conditions as set forth in your Slate Farm policy booklet, the most recently issued declarations, and any ap­
    plicable endorsements




HOMEOWNERS AMENDATORY ENDORSEMENT (California)

This endorsement modifies insurance prmided under the following: HOMEOWNERS POLICY
SECTION I - PROPERTY COVERAGES                                                            The following is added to Fuel Oil Release:
SECTION I -ADDITIONAL COVERAGES                                                               When applicable, the following coverages apply to a
The following is added to Volcanic Action:                                                    loss covered by Fuel Oil Release:
    When applicable, the following coverages apply to a                                       a. COVERAGE C - LOSS OF USE;
    loss covered by Volcanic Action:                                                          b. SECTION I-ADDITIONAL COVERAGES; and
    a. COVERAGE C - LOSS OF USE;                                                              c. Option OL - Building Ordinance or Law, only if
    b. SECTION I -ADDITIONAL COVERAGES; and                                                        this option is sho\Ml in the Declarations.
    c. Option OL - Building Ordinance or Law, only if                                           Any payments made for these coverages are included
         this option is shovvn in the Declarations.                                             in, and not in addition to, the $10,000 limit of insurance
                                                                                                for Fuel Oil Release.
The following is added to Collapse:
                                                                                          SECTION II - LIABILITY COVERAGES
    When applicable, the following coverages apply to a
    loss covered by Collapse:                                                             SECTION II -ADDITIONAL COVERAGES
    a. COVERAGE C - LOSS OF USE;                                                          The following is added to Damage to Property of Others:
    b. SECTION I-ADDITIONAL COVERAGES; and                                                      d.     Under SECTION II - EXCLUSIONS, exclusion 2.c.
    c. Option OL - Building Ordinance or Law, only if                                                  does not apply to the coverage provided by Dam­
         this option is shown in the Declarations.                                                     age to Property of Others.

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SECTION II - EXCLUSIONS                                                         meaning of part 8.a., 8.b., or 8.c. of the definition of
Item 1.i. is replaced by the following:                                         insured to share damages with or repay someone
                                                                                else who may be obligated to pay damages
          bodily injury to any insured within the meaning of                    because of the bodily injury sustained by any
          part 8.a., 8.b., or 8.c. of the definition of insured.                insured within the meaning of part 8.a., 8.b., or 8.c.
          This exclusion also applies to any claim made or                      of the definition of insured;
          suit brou ght against any insured within the                All other policy provisions apply.
H0-2213
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IMPORTANT NOTICE
Building Code Upgrade Coverage

In accordance with California law, this notice pertains to terms, limits, conditions, or restrictions for building
code upgrade coverage.
If your policy includes building code upgrade coverage:
• The limit for building code upgrade is stated in the Declarations as a percentage of the Coverage A
     limit. This is an additional amount of insurance and applies to building structures on the residence
     premises.
• Any payment for building code upgrade will be based on any ordinance or law, in effect at the time of
     the loss, regulating the construction or repair of the damaged property.
• We will not pay for any increased cost of construction due to any original or subsequent construction
     to a building structure that did not comply with a building, zoning, or land use ordinance or law in effect
     when the construction was performed.
• We will not pay more than the increased cost to repair or rebuild the building structure at the same
     premises, or another premises in the same general vicinity if relocation is required by ordinance or law,
     with the same height, floor area, and style.


    DISCLAIMER: This no�·ce is not a statement of contract This notice does not change, modify. or invalidate the provisions, terms, or conditions as set forth in your
    State Farm policy booklet, the most recently issued declarations, and any applicable endorsements.



553-4350CA


                                                                                                                                               553-4369 CA


          [ NEW DISCOUNTS AVAILABLE

          The following new discounts are available for homeowners who take steps to protect their home from wildfire:

                Wildfire Mitigation Discount - Community Level
               o     A 2% basic premium adjustment is available to homeowners with property located in a community that is
                     recognized by the NFPA Firewise USA6 Program.

                Wildfire Mitigation Discount- Property Level
               o    A 5% basic premium adjustment is available for homes that meet qualification criteria for property
                    characteristics such as roof material, defensible space, and siding material.

          If you would like to discuss the criteria for these discounts or want more information, please contact your State
          Farmtt agent.

          More information on the NFPA Firewise USA�' Program can be found at https://www.nfpa.org/Public-Educatron/
          Fire-causes-and-risks/WI Idfire/ Firewise-U SA

          553-4369 CA




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                                                                                                                        553-3158 CA


Qmportant Reminder ...
Under the Utility Rating Plan, premiums may increase when any of the utility systems (electrical, plumbing, heating, and
cooling) in your dwelling insured by this policy become 40 years old. Your premiums may be reduced if you have:

   (1) Completely replaced all utility systems (electrical, plumbing, heating, and cooling) in the last 40 years; or

   (2) Replaced the heating equipment, air conditioning equipment, electrical service entrance and distribution panel in the
       last 16 years.

Please ask your State Farm® agent for details.

553-3158 CA (C)   (J 1/09)



                                                                                                                         553-4218CA.1
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  IMPORTANT NOTICE
  Premium Adjustment

 Insurance premiums have been adjusted to more adequately reflect expected costs. Any premium ad­
 justment is reflected on your enclosed renewal notice and may be impacted by several factors including
 the coverage you have, and applicable discounts or charges.
  The enclosed Renewal Declarations reflects your new premium.
 We want to assure you that State Farm® works hard to offer you the best combination of cost, service,
 and protection. We will continue doing our best to make the most effective use of your premium dollars
 and give you fast, friendly service when you need it
  If you have any questions about your premium or policy coverages, please contact your State Farm
  agent
 553-4218 CA 1

                                                                                                                553-4370 CA


              IMPORTANT NOTICE
              Anti-Fraud Disclosure

           For your protection California law requires notification of the following disclosure:
           Any person who knowingly presents false or fraudulent information to obtam or amend insurance coverage or to
           make a claim for the payment of a loss is guilty of a crime and may be subject to fines and confinement in state
           prison.
           553-4370 CA




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   IMPORTANT NOTICE ... Discounts and Rating
The longer you are imured with State Farm"' and the fewer claims you have, the lower your premium. For policyholders
insured by State Farm for three or more years, the Claim Free Discount Plan provides a premium discount if you have not had
any claims considered for the Plan in the most recent three-year period since becoming insured with State Farm. Premium
adjustments under the Claim Record Rating Plan are based on the number of years you have been insured with State Fann
and on the number of claims that we consider for the Plan. Deprnding on the Plan(s) that applies in your state/province,
claims considered for the Plans generally include claims resulting in a paid loss and may include weather�related claims.
Additionally, depending on your st.ite/province's plan and your tenure with State Farm, any claims with your prior insurer
resulting in property damage or injury may also influence your premium. for further information about whether a Claim
Free Discount is in effect in your state/province, the Claim Record Rating Plan that applies in your state/province, and the
claims we consider for the Plans, please contact your State Farm agent.

553-2798 (C}        (J0/07)


                                                                                                                        553,4157


[ NOTICE TO POLICYHOLDER
For a comprehensive description of coverages and forms, please refer to your policy.

Policy changes that you requested before the "Date Prepa red" on your Renewal Declarations are effective on the renewal date of
this policy unless indicated otherwise by a separate endorsement, binder or Amended Declarations Page. Any coverage forms or
endorsements included with your Renewal Declarat ions are effective on the renewal date of this policy,

Policy changes that you requested after the "Date Prepared'' on your Renewal Declarations will be sent to you as an Amended
Declarations Page or as an endorsement to your policy. You will be billed for any resulting premium increase later.

If you have acquired any valuable property items. made any improvements to your home, or have questions about your insurance
coverage, please contact your State Farm® agent.

553-4157 (C)




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